17-36876-cgm        Doc 46       Filed 02/14/18       Entered 02/14/18 16:10:19           Main Document
                                                     Pg 1 of 3



 Official Form 417A (12/15)



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------------------------x
                                                               Chapter 11
 In re:
                                                               Case No: 17-36876 (CGM)
 MFB PROPERTIES LLC,

                                     Debtor.
 ----------------------------------------------------------x

                     NOTICE OF APPEAL AND STATEMENT OF ELECTION

          Part 1: Identify the appellant(s)
              1. Name(s) of appellant(s):
                                        BHMPW FUNDING LLC

              2. Position of appellant(s) in the adversary proceeding or bankruptcy case that is the
                 subject of this appeal:

                   For appeals in an adversary             For appeals in a bankruptcy case and not in
                   proceeding.                             an adversary proceeding.

                       Plaintiff                                Debtor
                       Defendant                                Creditor
                       Other (describe)                         Trustee
                                                                 Other (describe)   Party in interest


          Part 2: Identify the subject of this appeal
              1. Describe the judgment, order, or decree appealed from: Order Authorizing Sale Pursuant to 11
                 U.S.C. § 363(b)(1) & 363(f)(3) (ECF No. 33)

              2. State the date on which the judgment, order, or decree was entered: February 1, 2018

          Part 3: Identify the other parties to the appeal
          List the names of all parties to the judgment, order, or decree appealed from and the names,
          addresses, and telephone numbers of their attorneys (attach additional pages if necessary):

              1. Party: BHMPW           Attorney:         Daniel Zinman/Jason Leibowitz/Jerold Feuerstein
                 FUNDING LLC                              Kriss & Feuerstein LLP
17-36876-cgm          Doc 46   Filed 02/14/18        Entered 02/14/18 16:10:19            Main Document
                                                    Pg 2 of 3


                                                          360 Lexington Ave, Suite 1200
                                                          New York, New York 10017
                                                          (212) 661-2900



               2. Party: MFB            Attorney:         Mike Pinsky
                  Properties LLC                          Hayward, Parker, O’Leary & Pinsky
                                                          225 Dolson Ave., Ste. 303
                                                          Middletown, New York 10940



 Part 4: Optional election to have appeal heard by District Court (applicable only
 in certain districts)

 If a Bankruptcy Appellate Panel is available in this judicial district, the Bankruptcy Appellate Panel will
 hear this appeal unless, pursuant to 28 U.S.C. § 158(c)(1), a party elects to have the appeal heard by
 the United States District Court. If an appellant filing this notice wishes to have the appeal heard by the
 United States District Court, check below. Do not check the box if the appellant wishes the Bankruptcy
 Appellate Panel to hear the appeal.

          Appellant(s) elect to have the appeal heard by the United States District Court rather than by
             the Bankruptcy Appellate Panel.


 Part 5: Sign below

/s/ Jason S. Leibowitz                                                  Date: February 14, 2018
Signature of attorney for appellant(s) (or appellant(s) if not represented by an attorney)

Name, address, and telephone number of attorney (or appellant(s) if not represented by an attorney):

Jason S. Leibowitz
Kriss & Feuerstein LLP
360 Lexington Avenue, Suite 1200
New York, New York 10017
(212) 661-2900

Fee waiver notice: If appellant is a child support creditor or its representative and appellant has
filed the form specified in § 304(g) of the Bankruptcy Reform Act of 1994, no fee is required.




 Official Form 417A                   Notice of Appeal and Statement of Election                         page 2
17-36876-cgm         Doc 46
                         33      Filed 02/14/18
                                       02/01/18       Entered 02/14/18
                                                               02/01/18 16:10:19
                                                                        15:15:06   Main Document
                                                     Pg 3
                                                        1 of 3
                                                             1


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------
In re:
                                                                 Chapter 11
         MFB PROPERTIES LLC,
                                                                 Case No. 17-36876 (cgm)
                                    Debtor.
EIN XX-XXXXXXX
--------------------------------------------------------x

                               ORDER AUTHORIZING SALE
                         PURSUANT TO 11 U.S.C. §§ 363(b)(1) & 363(f)(3)

       The motion of debtor MFB Properties LLC (the “Debtor”) for the entry of an order
authorizing the sale of certain real property having come on for a hearing before this Court on
January 30, 2018, notice of the Motion being sufficient, and counsel for the Debtor having
appeared at the hearing and been heard in support of the Motion, and upon the record of the
hearing, after due deliberation and sufficient cause appearing therefor, it is, pursuant to Bankruptcy
Code §§ 1303, 363(b)(1), 363(f)(3) and Rules 2002(a)(2), 2002(c)(1) and 6004 of the Federal
Rules of Bankruptcy Procedure,

         ORDERED, that the Debtor be and hereby is authorized to sell all of its right, title and
interest in and to the real property located at 7 Lucy Lane, Town of Monroe, County of Orange,
State of New York, designated on the Town tax map as Section 6, Block 1, Lot 5.2 (the “Property),
and it is further

        ORDERED, that the Debtor shall convey all right, title and interest in the Property free
and clear of liens, liens to attach to proceeds, and is authorized to pay at closing the liens,
encumbrances, mortgages, property taxes and miscellaneous closing costs as may be necessary
and appropriate to transfer title, payment at closing being subject only to any objection(s), which
shall be determined on application to the Court.




                                                                   /s/ Cecelia G. Morris
                                                                   _______________________
Dated: February 1, 2018
                                                                   Hon. Cecelia G. Morris
      Poughkeepsie, New York
                                                                   Chief U.S. Bankruptcy Judge
